

People v Tejada (2024 NY Slip Op 02100)





People v Tejada


2024 NY Slip Op 02100


Decided on April 18, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 18, 2024

Before: Renwick, P.J., Kapnick, Shulman, Rosado, O'Neill Levy, JJ. 


Ind. No. 2167/17 Appeal No. 2078-2078A Case No. 2020-02828, 2022-05570 

[*1]The People of the State of New York, Respondent,
vWayne Tejada, Defendant-Appellant. Case Nos.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Bryan S. Furst of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Covais of counsel), for respondent.



Judgment of resentence, Supreme Court, New York County (Stephen M. Antignani, J.), rendered November 28, 2022, as amended February 1, 2023, resentencing defendant to an aggregate term of nine years, unanimously affirmed. Appeal from judgment, same court (Gayle P. Roberts, J., at plea; Antignani, J., at sentencing), rendered June 24, 2020, unanimously dismissed, as subsumed in the appeal from the judgment of resentence.
The resentencing court providently exercised its discretion in denying youthful offender treatment (see People v Drayton , 39 NY2d 580 [1976]), given the seriousness of the underlying crimes, in which defendant repeatedly raped and sexually abused his three young nieces.
We perceive no basis for reducing the sentence or substituting a youthful offender adjudication.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 18, 2024








